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OREGON JUDICIAL DEPARTMENT - Online Records Search


 05/13/2024 Letter ..,.

   Comment
   A183410 re: Corrected Amended Notice of Appeal

 05/14/2024 Order - Recusal "'

   Judicial Officer
   Barnack, Timothy

 05/15/2024 Motion - Disqualify Judge

 05/16/2024 Order - Denial ..,

   Judicial Officer
   Bloom, Benjamin M
                                                                                  -------------·-----·--------- - -------- --- ------.1
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 05/28/2024 Hearing - Motion ..,.

 Judicial Officer
 Bloom, Benjamin M

 Hearing Time
 9:00AM

 Comment
 RSP's Motion to Disqualify
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